The Effects of Aging on Recidivism Among Federal Offenders




                                         U N I T E D S TAT E S S E N T E NC I NG COM M I S S ION


             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 1 of 54
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                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 2 of 54
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Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 3 of 54
TABLE OF CONTENTS




           Part One                                       Part Two                  Part Three                    Part Four

                                             DEFINING AND MEASURING       INTRODUCTION TO AGE AND            CHARACTERISTICS OF
     EXECUTIVE SUMMARY
                                                    RECIDIVISM            RECIDIVISM AMONG FEDERAL         RECIDIVISM STUDY GROUP
                                                                                  OFFENDERS
                1                                              5                      9                              13




                                          Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 4 of 54
 i     The Effects of Aging on Recidivism Among Federal Offenders
        Part Five                     Part Six                      Part Seven                                    Part Eight

 RECIDIVISM RATES AMONG
                                   CONCLUSION                       ENDNOTES                                      APPENDIX
FEDERAL OFFENDERS BY AGE

           21                            29                             33                                             37




                           Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 5 of 54
                                                                         The Effects of Aging on Recidivism Among Federal Offenders   ii
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 6 of 54
Part One




                                 Executive Summary




       Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 7 of 54
            Part One:
            EXECUTIVE SUMMARY




    Introduction
        The United States Sentencing Commission1 began studying recidivism                  The Commission’s current recidivism research substantially expands on the
    shortly after the enactment of the Sentencing Reform Act of 1984 (“SRA”),           scope of previous Commission recidivism projects. In addition to a different set
    and has issued several recent publications examining recidivism rates               of offenders—U.S. citizen federal offenders released in 2005—the current study
    among federal offenders released in 2005. The Commission’s first report in          group (25,431 offenders) is much larger than those in previous Commission
    this series, Recidivism Among Federal Offenders: A Comprehensive Overview           studies. A larger study group allows for data analysis across many different
    (“Recidivism Overview Report”), was released in March 2016 and discussed            subgroups of federal offenders, including those sentenced under different
    this research project in greater detail. As noted in the previous reports in this   provisions in the guidelines.
    series,2 recidivism information is central to three of the primary purposes of
                                                                                           This report is the fourth in this series and focuses on the relationship
    punishment described in the SRA—specific deterrence, incapacitation, and
                                                                                        between age at release and recidivism. This report examines the impact of the
    rehabilitation—all of which focus on prevention of future crimes through
                                                                                        aging process on federal offender recidivism and, once age is accounted for, the
    correctional intervention. Information about recidivism is also relevant to the
                                                                                        impact of other offense and offender characteristics.
    Commission’s obligation to formulate sentencing policy that “reflect[s], to the
    extent practicable, advancements in knowledge of human behavior as it relates
    to the sentencing process.”3 Considerations of recidivism by federal offenders
    were also central to the Commission’s initial work in developing the Guidelines
    Manual’s criminal history provisions4 as well as its ongoing work.5




                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 8 of 54
2      The Effects of Aging on Recidivism Among Federal Offenders
Key Findings
   The key findings of the Commission’s study of federal offenders’ recidivism
by age at release are that:
         •       Older offenders were substantially less likely than younger 		     •       Age exerted a strong influence on recidivism across all
         offenders to recidivate following release. Over an eight-year follow-up    sentence length categories. Older offenders were less likely to
         period, 13.4 percent of offenders age 65 or older at the time of release   recidivate after release than younger offenders who had served similar
         were rearrested compared to 67.6 percent of offenders younger than         sentences, regardless of the length of sentence imposed. In addition,
         age 21 at the time of release. The pattern was consistent across age       for younger offenders there was some association between the length
         groupings, and recidivism measured by rearrest, reconviction, and          of the original federal sentence and the rearrest rates, as younger
         reincarceration declined as age increased.                                 offenders with sentences of up to six months generally had lower
                                                                                    rearrest rates than younger offenders with longer sentences. However,
                                                                                    among all offenders sentenced to one year or more of imprisonment,
         •       For federal offenders under age 30 at the time of release, over    there was no clear association between the length of sentence and the
         one-fourth (26.6%) who recidivated had assault as their most common        rearrest rate.
         new charge. By comparison, for offenders 60 years old or older at the
         time of release, almost one quarter (23.7%) who recidivated had a
         public order offense6 as their most serious new charge.                     •      For certain major offense types, the type of federal offense that
                                                                                    offenders had committed also had an effect on recidivism across age
                                                                                    groups. For example, firearms offenders had a substantially higher
         •       Age and criminal history exerted a strong influence on             rearrest rate across all age categories than drug trafficking offenders,
         recidivism. For offenders in Criminal History Category I, the rearrest     who in turn had a higher rearrest rate across all age categories than
         rate ranged from 53.0 percent for offenders younger than age 30 at         fraud offenders. For example, for offenders under age 30 at the time of
         the time of release to 11.3 percent for offenders age 60 or older. For     release, the rearrest rates were 79.3 percent (firearms), 62.5 percent
         offenders in Criminal History Category VI, the rearrest rate ranged        (drug trafficking), and 53.6 percent (fraud). Similarly, for offenders
         from 89.7 percent for offenders younger than age 30 at the time of         age 60 and older at the time of release, the rearrest rates were 30.2
         release to 37.7 percent for offenders age 60 or older.                     percent (firearms), 17.5 percent (drug trafficking), and 12.5 percent
                                                                                    (fraud).
         •       Education level influenced recidivism across almost all
         categories. For example, among offenders under age 30 at the time          •       At every age group, federal prisoners had a substantially
         of release, college graduates had a substantially lower rearrest rate      lower recidivism rate than state prisoners who also were released
         (27.0%) than offenders who did not complete high school (74.4%).           in 2005 and tracked by the Bureau of Justice Statistics. For example,
         Similarly, among offenders age 60 or older at the time of release,         for offenders age 24 or younger at the time of release, 63.2 percent
         college graduates had a somewhat lower rearrest rate (11.6%) than          of federal prisoners were rearrested within five years compared to
         offenders who did not complete high school (17.2%).                        over four-fifths (84.1%) of state prisoners. Like federal prisoners,
                                                                                    older state prisoners were less likely to recidivate than younger state
                                                                                    prisoners.


                                         Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 9 of 54
                                                                                                The Effects of Aging on Recidivism Among Federal Offenders      3
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 10 of 54
Part Two




  Defining and Measuring Recidivism




       Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 11 of 54
            Part Two:
            DEFINING AND MEASURING RECIDIVISM



    Defining and Measuring Recidivism
        Recidivism “refers to a person’s relapse into criminal behavior, often after         Reincarceration classifies a person as a recidivist if a conviction or revocation
    the person receives sanctions or undergoes intervention for a previous crime.”7       resulted in a prison or jail sentence as punishment. The reincarceration measure
    Measuring recidivism informs decision making about issues such as pretrial            counts offenders who were reported as being incarcerated by the Federal
    detention, appropriate sentence type and length, prisoner classification, prison      Bureau of Prisons, state prison, or local jail for any term of incarceration based
    programming, and offender supervision in the community. It also allows                on their recidivism events. Incomplete criminal records also create missing
    policymakers to evaluate the performance of the criminal justice system as            information about reincarceration.11
    a whole.8 Recidivism is typically measured by criminal acts that resulted                 Many rearrests do not ultimately result in a reconviction or reincarceration
    in the rearrest, reconviction, and/or reincarceration of the offender over a          for reasons relating to procedural safeguards (e.g., the suppression of evidence
    specified period of time. These are the three recidivism measures used in this        for an unconstitutional search or seizure), lack of sufficient evidence to
    report, but the report primarily relies on the first—rearrest—with additional         convict or revoke, and prosecutorial or judicial resource limitations. To the
    data regarding reconviction and reincarceration reported in the Appendix.             extent that the rearrest event is an accurate indicator of relapse into criminal
    Providing data about multiple measures of recidivism allows users to select the       behavior, excluding non-conviction or non-incarceration events will result
    performance measure best suited to their outcome of interest.                         in underestimation of recidivism. Even using the least restrictive measure,
       Rearrest classifies a person as a recidivist if he or she has been arrested for    rearrest, does not count the full extent of offender recidivism, as many crimes
    a new crime after being released into the community directly on probation or          go unreported to police or, if reported, do not result in an arrest. For these
    after serving a term of imprisonment. Rearrest also includes arrests for alleged      reasons, no measure is perfect, and reporting several measures provides a more
    violations of conditions of federal probation, federal supervised release, or state   complete and nuanced picture of recidivism. The three measures overlap in
    parole. The number of rearrests in the Commission’s analysis is based on the          some areas—meaning all offenders who were reconvicted or reincarcerated also
    number of unique arrest dates, regardless of the number of individual charges         were necessarily rearrested. Some offenders who were reconvicted, however,
    arising from a single arrest event. Thus, if an offender was arrested on a single     were not reincarcerated. Generally speaking, however, the measure of rearrest
    occasion for both driving under the influence and possession of cocaine, that         is larger than the measure of reconviction, which in turn is larger than the
    arrest date would constitute a single rearrest event.                                 measure of reincarceration.

        Reconviction classifies a person as a recidivist if an arrest resulted in a           In undertaking its current recidivism research, the Commission selected a
    subsequent judicial conviction.9 Violations and revocations of supervision are        follow-up period of eight years. It considered all recidivism events (including
    not included in reconvictions since no formal prosecution occurred. While states      felonies, misdemeanors, and “technical” violations of the conditions of
    have improved the completeness of their criminal history records, a recent            supervision), except minor traffic offenses, which occurred over that eight-year
    federal study found significant gaps in reporting of dispositions following an        period. While this report includes summary findings using all three measures
    arrest.10 Such gaps occurred in the criminal records used in this report, and lead    (rearrest, reconviction, and reincarceration), it primarily relies on rearrest
    to an undercounting of reconvictions, because missing dispositions for rearrests      data in providing more detailed information about the recidivism of federal
    are treated as if reconviction and reincarceration did not occur.                     offenders.




                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 12 of 54
6           The Effects of Aging on Recidivism Among Federal Offenders
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 13 of 54
                                              The Effects of Aging on Recidivism Among Federal Offenders   7
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 14 of 54
   Part Three




                Introduction to Age and                                      		
			 Recidivism Among Federal Offenders



           Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 15 of 54
             Part Three:
             INTRODUCTION TO AGE AND RECIDIVISM AMONG FEDERAL OFFENDERS



     Age and Recidivism Among Federal Offenders
         This report examines the impact of the aging process on recidivism by              According to the National Institute of Justice, “the prevalence of offending
     federal offenders. First, recidivism rates are presented by age at release.         tends to increase from late childhood, peak in the teenage years (from 15 to
     Next, the time to the first recidivism event is shown by age at release for         19) and then decline in the early 20s.”14 Scholars have used official arrest data
     those offenders who recidivated. Studying the timing of recidivism can help         collected by the Federal Bureau of Investigation (FBI) to construct an age-crime
     in understanding the process of desistance across various age cohorts. The          curve15 which demonstrates graphically the relationship between age and
     number of recidivism events and most serious type of post-release offense           arrests. National arrest data collected by the FBI in the Uniform Crime Report
     among those who recidivated by age at release are also discussed. Contrasting       (UCR) since 193016 and compiled in the FBI’s Crimes in the United States report
     the number and nature of crimes committed across age groups may reveal more         since 199517 has consistently supported this conclusion concerning age and
     information about the threat to public safety posed by various age groups as        crime.
     well as the process of desisting from crime across the aging process.
                                                                                             Figure 1 shows a comparison of arrests by five-year age intervals beginning
        The report then investigates the association between recidivism and factors      at age 20 for all 2016 U.S. arrests reported to the FBI and all adult arrests
     such as criminal history, demographic factors, offense characteristics, and         reported in criminal history records provided by the FBI for federal offenders
     sentence length. This information is reported by age group in order to better       released in 2005, by identical age groupings.18 To construct the federal offender
     distinguish the impact of these factors while controlling for age at release.       data, the Commission aggregated all arrest incidents from the federal offenders’
                                                                                         entire criminal history as reported on state and federal records.19 That is, each
         As first noted in the Recidivism Overview Report, numerous recidivism
                                                                                         arrest charge is collected and grouped by the age of the offender at the time of
     studies document well that older offenders are at lower risk for reoffending,12
                                                                                         that arrest, in the same manner as set forth in Table 20 of the 2016 Crimes in the
     and the Commission’s own research has confirmed this finding for federal
                                                                                         United States report.
     offender populations.13 The Commission’s study found that among all federal
     offenders released into the community in 2005, those who were below age 21
     at release had the highest rearrest rate at over two-thirds (67.6%). Conversely,
     those oldest at age of release, over 60 years old, had the lowest recidivism rate
     (16.0 %). For each age grouping shown in the previous report, the older the age
     group, the lower the rearrest rate. The same pattern held for reconviction and
     reincarceration rates.




                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 16 of 54
10         The Effects of Aging on Recidivism Among Federal Offenders
    Figure 1 demonstrates the close tie between older age and declining arrests,                                              Since arrests are closely associated with age, it is not surprising that federal
in both the FBI’s UCR20 and prior arrest data obtained on federal offenders from                                          offenders who enter and exit the federal system at younger ages are more
the FBI’s Interstate Identification Index (III) system, which is a national index                                         prone to recidivate. In the following sections, this report examines the age
of criminal histories. In general, the Commission found that total adult arrests                                          and recidivism connection in greater detail. Then this report analyzes age in
for federal offenders were highest in the 20-24 age group, and declined sharply                                           combination with other offense and offender characteristics. This combination
thereafter. The national FBI adult arrests in 2016 display the same pattern.                                              in effect statistically controls for age and reveals the influence, or absence of
                                                                                                                          influence, of other factors which may be thought to impact recidivism over and
    For both federal offenders’ prior arrest history and national 2016 arrests as
                                                                                                                          above the influence of aging.
reported by the FBI, older age groups had fewer arrests. While there are vast
differences among individuals which are not explained by age, age is generally
a strong factor influencing the likelihood of committing crime, although the
reasons for this are complex.21


                          Fig. 1 Total Arrests by Age
                          All 2016 U.S. Arrests Compared to Recidivism Study Offenders’ Arrest Records
                              2016 Crime in the United States (FBI) Arrests by Age
                            1,600,000
                            1,400,000
                            1,200,000
                            1,000,000
                              800,000
                              600,000
                              400,000
                              200,000
                                    0
                                         20 to 24     25 to 29     30 to 34     35 to 39                     40 to 44        45 to 49        50 to 54         55 to 59        60 to 64      65 and over
                              Lifetime Arrests by Federal Offenders Released in 2005
                                80,000
                               70,000
                               60,000
                               50,000
                               40,000
                               30,000
                               20,000
                               10,000
                                      0
                                             20 to 24        25 to 29         30 to 34        35 to 39         40 to 44        45 to 49        50 to 54         55 to 59        60 to 64      65 and over
                              SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT and U.S. Department of Justice, Federal Bureau of Investigation Uniform Crime
                              Report, Crime in the United States (2015). The Commission excluded cases from this analysis that were missing information necessary to perform the analysis.

                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 17 of 54
                                                                                                                                                       The Effects of Aging on Recidivism Among Federal Offenders   11
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 18 of 54
  Part Four




                                  Characteristics of
								                     Recidivism Study Group



         Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 19 of 54
             Part Four:
             CHARACTERISTICS OF RECIDIVISM STUDY GROUP




     Characteristics of Recidivism Study Group
        This report examines 25,431 offenders who were released into the                                        Fig. 2 Age at Release for Recidivism Study Offenders
     community (either from federal prison or on to probation) in calendar year                                                                    60 to 64 Years
                                                                                                                                                       2.6%
                                                                                                                                                                         65 Years or
                                                                                                                                                                           Older
                                                                                                                                                                                             Younger than 21 Years
                                                                                                                                                                                                     1.6%
     2005 and, as discussed in the Recidivism Overview Report, were federal                                                       55 to 59 Years
                                                                                                                                                      (n=668)               2.1%
                                                                                                                                                                          (n=536)
                                                                                                                                                                                                   (n=398)
                                                                                                                                      4.9%
     offenders:                                                                                                                     (n=1,235)
                                                                                                                                                                                                   21 to 24 Years
                                                                                                                           50 to 54 Years                                                              8.8%
              •       who are citizens;                                                                                          6.8%                                                                (n=2,234)
                                                                                                                              (n=1,734)

              •       who re-entered the community after discharging their 		                                                                                                                         25 to 29 Years
                                                                                                                                                                                                          16.4%
                                                                                                                                                                                                        (n=4,164)
                      sentences of incarceration or by commencing a term of 		
                                                                                                                            45 to 49 Years
                                                                                                                                10.1%
                                                                                                                              (n=2,569)
                      probation in 2005;
              •       whose pre-sentence investigation report was submitted to the
                      Commission;                                                                                              40 to 44 Years
                                                                                                                                   13.1%
                                                                                                                                 (n=3,325)                                                           30 to 34 Years

              •       who have valid FBI numbers which could be located in criminal                                                                                                                      18.3%
                                                                                                                                                                                                       (n=4,635)

                      history repositories (in at least one of the 50 states, DC, or 		                                                              35 to 39 Years

                      federal records);
                                                                                                                                                         15.3%
                                                                                                                                                       (n=3,888)

                                                                                                                          SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The
              •       who were not reported dead, escaped, or detained; and                                               Commission excluded cases from this analysis that were missing information necessary to perform the
                                                                                                                          analysis. Totals may not sum to 100.0% due to rounding.


              •       whose federal sentence was not vacated.
                                                                                          Fig. 3 Race of Recidivism Study Offenders by Age at Release
                                                                                                                      White
         The advantages of this large study group are substantial. Having several                    60 Years
                                                                                                                     n=11,074                   Younger                                   50 to 59
                                                                                                                                                                                                      60 Years or Black
                                                                                                                                                                                                        Older    n=8,607
                                                                                                     or Older
     thousand offenders allows more precise estimates of recidivism rates across                      7.6%
                                                                                                                                                than 30
                                                                                                                                                 Years
                                                                                                                                                                                           Years
                                                                                                                                                                                           8.4%
                                                                                                                                                                                                         2.2%                    Younger than
                                                                                                                                                                                                                                   30 Years
     different subgroups. For example, there are 1,048 released offenders who were                 50 to 59
                                                                                                    Years
                                                                                                                                                 20.5%
                                                                                                                                                                                                                                    28.0%

     older than 60 years of age.                                                                    16.2%
                                                                                                                                                                                       40 to 49
                                                                                                                                                                                        Years
     Offender Demographics                                                                                                                                                              19.6%



        The largest age cohort in this study was those offenders aged 30 to 34                   40 to 49
                                                                                                  Years
                                                                                                                                                 30 to 39
                                                                                                                                                  Years
                                                                                                                                                                                                                                     30 to 39
                                                                                                                                                                                                                                      Years
     (18.3% of the total) at the time they were released from federal custody into                27.8%
                                                                                                                                                  27.9%                                                                               41.9%


     the community (Figure 2). The next largest cohorts at time of release were                            60 Years or Hispanic
                                                                                                                                                                                                     60 Years or Other
                                                                                                             Older
                                                                                                                                                                                                                 n=1,174
     offenders aged 25 to 29 (16.4%) and 35 to 39 (15.3%).                                      50 to 59
                                                                                                 Years        2.8%     n=4,508
                                                                                                                                                                                        50 to 59
                                                                                                                                                                                                       Older
                                                                                                                                                                                                        3.9%
                                                                                                 7.5%                                           Younger than                             Years
                                                                                                                                                  30 Years                                                                      Younger than
        Among the racial and ethnic groups analyzed, most White offenders were                                                                     38.0%
                                                                                                                                                                                         9.3%
                                                                                                                                                                                                                                  30 Years
                                                                                                                                                                                                                                   34.2%
     40 years or older (51.6%) at the time of their release (Figure 3). This is the           40 to 49
                                                                                               Years
     only racial group in the study with more than half of offenders over the age of           18.7%
                                                                                                                                                                                       40 to 49
                                                                                                                                                                                        Years
     40. Black and Hispanic offenders were concentrated in the younger than 40 age                                                                                                      23.9%

     cohorts, with Hispanic offenders the youngest of all racial groups (70.9% were                  30 to 39                                                                                                                     30 to 39
                                                                                                      Years                                                                                                                        Years
     younger than 40 at the time of release). The Other race category, which includes                 32.9%                                                                                                                        28.7%

     American Indians, Alaskan Natives and Asians were also mostly below age 40              SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were
                                                                                             missing information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.

     (62.9%).
                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 20 of 54
14           The Effects of Aging on Recidivism Among Federal Offenders
   The average age of offenders at the time of release increased as educational                                                                                           Female offenders were slightly younger on average than male offenders
level increased (Figure 4). Offenders who did not complete high school were                                                                                           at the time of release (Figure 5). Specifically, a greater proportion of female
the youngest group at the age of release, with 68.5 percent below the age of 40.                                                                                      offenders were younger than 30 at the time of release, 31.2 percent, compared
College graduates were significantly older on average than offenders in other                                                                                         to 25.8 percent of male offenders.
educational cohorts, with around 71.0 percent of college graduates age 40 or
older.




Fig. 4 Education of Recidivism Study Offenders by Age at Release                                                                                                      Fig. 5 Gender of Recidivism Study Offenders by Age at Release
                                                                                                                                                                                                           Male                                                                                       Female
                           Less Than High School                                                             High School Graduate                                                      60 Years or                                                                                 60 Years or
               60 Years or                                                                     60 Years or                                                                                               n=20,723                                                                                     n=4,654
                                  n=8,641                                                        Older             n=9,309
                                                                                                                                                                                         Older                                                                                       Older
                 Older                                                                                                          Younger than                                              5.1%
                                                                                                  3.8%                                                                                                                                                                                3.2%
        50 to 59 4.0%                                                                                                                     30 Years
                                                                                                                                                                                                                                                                        50 to 59 Years
          Years                                                                                                                            25.9%                                                                                         Younger than
                                                                                          50 to 59                                                                        50 to 59 Years                                                                                    11.1%                                                   Younger than
          8.1%                                              Younger                        Years                                                                              11.8%                                                        30 Years                                                                                   30 Years
                                                            than 30                        10.2%                                                                                                                                            25.8%                                                                                      31.2%
         40 to 49                                            Years
          Years                                              35.5%
          19.4%
                                                                                           40 to 49
                                                                                            Years
                                                                                            24.9%                                           30 to 39
           30 to 39                                                                                                                          Years
            Years                                                                                                                            35.1%
            33.0%
                                                                                                                                                                      40 to 49                                                                                   40 to 49
                              Some College                                                 60 Years or       College Graduate                                          Years                                                                                      Years
            60 Years or                                                                                          n=1,879                  Younger
                                n=5,399               Younger than                           Older                                                                     23.1%                                                                                      23.9%
              Older                                     30 Years                                                                          than 30
                                                                                             12.8%
               4.6%                                      21.7%                                                                             Years
                                                                                                                                           5.9%                                                                                   30 to 39 Years
                                                                                                                                                                                                                                                                                                                            30 to 39 Years
         50 to 59                                                                                                                                                                                                                     34.2%
                                                                                                                                                                                                                                                                                                                                30.7%
          Years                                                                                                                               30 to 39
          13.8%                                                                                                                                Years
                                                                                            50 to 59                                           23.0%
                                                                                             Years                                                                          SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                                                                                                            information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.
                                                                                             29.3%
          40 to 49
           Years                                        30 to 39                                                                            40 to 49
           24.3%                                         Years                                                                               Years
                                                         35.6%                                                                               28.9%

  SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
  information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.




                                                                                 Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 21 of 54
                                                                                                                                                                                                       The Effects of Aging on Recidivism Among Federal Offenders                                                                                  15
                    Part Four:
                    CHARACTERISTICS OF RECIDIVISM STUDY GROUP



     Federal Offense Type and Criminal History

         Drug trafficking offenders were generally the youngest group of offenders                                                                                                         Over two-thirds (67.0%) of offenders subject to weapons enhancements
     at the time of release (Figure 6). Of all drug trafficking offenders, 68.0 percent                                                                                                 were younger than age 40 at the time of release compared to 59.6 percent of
     were below the age of 40. By comparison, 66.5 percent of firearms offenders                                                                                                        offenders who were not subject to such enhancements (Figure 7).
     and 60.3 percent of robbery offenders were below the age of 40. Fraud
     offenders were the oldest group with 55.0 percent age 40 or older at the time of
     release.

     Fig. 6 Primary Offense Type of Recidivism Study Offenders by Age at Release                                                                                                        Fig. 7 Weapon Enhancement of Recidivism Study Offenders by Age at Release

                        Drug Trafficking                                                                                        60 Years or   Firearms                                               60 Years or   Weapon Enhancement                                                                         No Weapon Enhancement
                60 Years                                                                                                          Older                                                                                 n=2,498
                or Older
                         n=10,577                                                                                                  3.0%       n=3,238                                                  Older                                                                                    60 Years or         n=22,888
                                                                                                                                                                  Younger than                          2.6%                                                                                      Older
        50 to 59 2.7%                       Younger than                                                                 50 to 59
                                              30 Years                                                                    Years                                     30 Years                                                                           Younger than                                5.0%
         Years                                                                                                                                                                                                                                           30 Years                                                                                    Younger than
         9.0%                                  29.4%                                                                      8.3%                                       33.3%                  50 to 59 Years                                                                                                                                             30 Years
                                                                                                                                                                                                                                                          26.4%
                                                                                                                                                                                                8.9%                                                                                 50 to 59 Years                                                     26.8%
                                                                                                                                                                                                                                                                                         12.0%

                                                                             60 Years                                  40 to 49
      40 to 49                                                                          Robbery                         Years
                                                                             or Older
       Years                                                                  2.6%      n=1,098                        22.3%
       20.3%                                                                                                    Younger                                                                   40 to 49
                                                                     50 to 59                                   than 30                                                                    Years
                                                                      Years                                      Years                                          30 to 39 Years
                                               30 to 39 Years                                                                                                                              21.5%
                                                                      9.8%                                       26.1%                                              33.2%
                                                   38.6%
                                                                                                                                                                                                                                                                                  40 to 49
                                                                                                                                                                                                                                                                                   Years
                                                                  40 to 49                                                                                                                                                                                                         23.4%
                             Fraud
          60 Years or                          Younger than        Years                                                     60 Years or        All Other
                            n=3,440                                                                                                                                  Younger than
            Older                                30 Years          27.1%                                                       Older            n=7,031
                                                  14.9%                                                                         7.1%                                   30 Years
             8.6%
                                                                                                              30 to 39                                                  25.8%                                                                                                                                                                 30 to 39 Years
                                                                                                               Years                                                                                                                              30 to 39 Years                                                                                  32.8%
       50 to 59                                                                                                34.2%       50 to 59
        Years                                                                                                               Years                                                                                                                     40.6%
        18.0%                                                                                                               14.5%

                                                       30 to 39                                                                                                                            SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
       40 to 49                                         Years                                                                                                                              information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.
                                                        30.2%                                                            40 to 49                                            30 to 39
        Years
                                                                                                                          Years                                               Years
        28.4%
                                                                                                                          24.8%                                               27.9%


         SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
         information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.




                                                                                           Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 22 of 54
16                      The Effects of Aging on Recidivism Among Federal Offenders
       Overall, the age of offenders increased as the offenders’ prior criminal                                                                                                              The offender’s base offense level is determined by applying the Chapter Two
   history increased (Figure 8). A federal offender’s prior criminal history score                                                                                                       guideline level associated with the conviction offense (Figure 9). A high base
   is calculated under Chapter Four of the Guidelines Manual and assigned one of                                                                                                         offense level, defined as a base offense level of 32 or higher, was associated with
   six Criminal History Categories (CHC), CHC I through VI, with CHC VI being the                                                                                                        a high percentage of offenders between the ages of 30 to 39. Offenders between
   highest prior record category.22 Category I had a larger proportion of offenders                                                                                                      the ages of 30 to 39 were the only age group to increase consistently across
   younger than 30 years (27.8%) than Category VI (11.1%).23 Conversely,                                                                                                                 all three categories as shown in Figure 9, from 29.8 percent to 45.4 percent.
   Category VI had the largest group of offenders age 40 or older (47.1%).                                                                                                               Offenders younger than 30 reached a high of 31.2 percent in the base offense
                                                                                                                                                                                         level 26 to 31 category but decreased to 18.1 percent among the most serious
                                                                                                                                                                                         category of offenders with a base offense level between 32 and 43.


Fig. 8 Criminal History Category of Recidivism Study Offenders by Age at Release                                                                                                         Fig. 9 Base Offense Level of Recidivism Study Offenders by Age at Release

       60 Years        Category I                                                                                                   60 Years      Category III                                                                                                 60 Years or   BOL 6 to 25
                        n=13,549
                                            Younger                60 Years or Older Category II                                    or Older        n=3,610                 Younger                                                                              Older        n=16,937
       or Older                             than 30                      3.4%          n=3,082             Younger than              2.9%                                   than 30                                                                               5.6%
                                                                                                                                                                                                                                                                                                  Younger than
        6.5%                                 Years
                                                                  50 to 59                                   30 Years         50 to 59                                       Years                                                                                                                  30 Years
   50 to 59                                  27.8%                                                            29.0%
                                                                   Years                                                       Years                                         30.3%                                                                  50 to 59                                         27.6%
    Years                                                          10.3%                                                       8.1%                                                                                                                  Years
    13.9%                                                                                                                                                                                                                                            12.9%
                                                                                                                             40 to 49
                                                                                                                              Years
                                                                                                                              20.7%
                                                                  40 to 49
                                             30 to 39              Years                                                                                                                                                                              40 to 49
    40 to 49
                                              Years                21.9%                                    30 to 39                                                                                                                                   Years
     Years                                                                                                                                                                 30 to 39                                                                                                                   30 to 39
                                              28.7%                                                                                                                                                                                                    24.1%
     23.1%                                                                                                   Years                                                          Years                                                                                                                      Years
                                                                                                             35.4%                                                          38.0%                                                                                                                      29.8%
                                                                                                                                                                                             60 Years or
                                                                                                                                                                                                              BOL 26 to 31                                                                                               60 Years or     BOL 32 to 43
                                                                                                                                                                                                                n=4,463                                                                                                    Older           n=3,967             Younger than
                                                                                                                                                                                                Older
                                                                                                                                           60 Years Category VI           Younger than                                                      Younger                                                                         3.5%                                 30 Years
            60 Years    Category IV          Younger                        60 Years Category V                                                                                                 2.7%                                                                                                                                                              18.1%
                                                                                                             Younger                       or Older   n=1,921               30 Years                                                        than 30
            or Older      n=1,995                                           or Older   n=1,119                                                                                              50 to 59                                                                                                              50 to 59
                                             than 30                                                                                        2.8%                             11.1%                                                           Years
             2.1%                                                   50 to 59 1.6%                            than 30            50 to 59                                                     Years                                                                                                                 Years
                                              Years                                                                                                                                          8.5%
                                                                                                                                                                                                                                             31.2%
 50 to 59                                                            Years                                    Years              Years                                                                                                                                                                             10.0%
                                              28.5%
  Years                                                              8.2%                                     21.8%              11.7%
  7.7%
                                                                                                                                                                                           40 to 49
                                                                                                                                                                                            Years                                                                                                                40 to 49
                                                                   40 to 49                                                                                                                 20.2%                                                                                                                 Years
  40 to 49                                                                                                                                                                                                                                                                                                                                                       30 to 39
                                                                    Years                                                                                                                                                                                                                                         23.0%
   Years                                                                                                                                                                                                                                                                                                                                                          Years
                                                                    25.2%                                                                                                                                                               30 to 39
   20.0%                                                                                                                                                                                                                                                                                                                                                          45.4%
                                                                                                                                  40 to 49                                                                                               Years
                                            30 to 39                                                         30 to 39                                                        30 to 39                                                    37.5%
                                                                                                              Years                Years                                      Years
                                             Years
                                                                                                              43.2%                32.6%                                      41.8%
                                             41.9%
                                                                                                                                                                                           SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                                                                                                                           information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.
      SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
      information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.




                                                                                         Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 23 of 54
                                                                                                                                                                                                                          The Effects of Aging on Recidivism Among Federal Offenders                                                                                          17
                    Part Four:
                    CHARACTERISTICS OF RECIDIVISM STUDY GROUP



     Sentences Imposed

        For statistical purposes, the Commission groups the type of federal sentence                                                                                  The Commission also considered the length of the federal sentence imposed
     originally imposed into four categories: prison only, prison and community                                                                                   on those in the study group. Offenders serving the longest sentences were the
     confinement, probation and confinement, and probation or fine only.24 Prison                                                                                 oldest at time of release (Figure 11). For offenders who served a sentence of
     only offenders were the youngest group at release in the Commission’s study,                                                                                 120 months or more, the proportion of offenders who were age 40 or older at
     with 61.9 percent of the offenders who received a prison only sentence under                                                                                 the time they were released was 48.6 percent, higher than any other group.
     the age of 40 (Figure 10). Offenders who served prison and community                                                                                         In contrast, among offenders who served a sentence of 60 to 119 months, the
     confinement sentences were the oldest, with 48.1 percent age 40 or older.                                                                                    proportion age 40 or older was 36.3 percent, the same proportion as offenders
                                                                                                                                                                  who served a sentence of 24 to 59 months.



      Fig. 10 Sentence Type of Recidivism Study Offenders by Age at Release                                                                                     Fig. 11 Length of Federal Sentence of Recidivism Study Offenders by Age at Release
                                                                                                                                                                    60 Years       Up to 6 Months                                  60 Years     6 to 11 Months
                              Prison Only                                                                       Prison/Community Split Sentence                     or Older           n=1,047                                     or Older          n=760           Younger than             60 Years      12 to 23 Months
                                                                                                                                                                                                         Younger than
               60 Years or                                                                            60 Years or                                                    5.3%                                                                                              30 Years               or Older          n=3,644
                               n=19,572                                                                                    n=973         Younger than                                                      30 Years                 5.3%
                                                                                                                                                                                                                                                                                               4.7%
                 Older                                                                                  Older                                                                                                                                                           34.7%                                                     Younger than
                                                       Younger than                                                                                 30 Years                                                28.1%              50 to 59
                  4.1%                                   30 Years                                        6.2%                                                      50 to 59                                                                                                                                                         30 Years
                                                                                                                                                     26.8%          Years                                                       Years                                                      50 to 59
        50 to 59                                          26.3%                                                                                                                                                                                                                                                                      33.0%
         Years                                                                                      50 to 59                                                        14.0%                                                       9.1%                                                        Years
         11.0%                                                                                       Years                                                                                                                                                                                  11.0%
                                                                                                     14.4%


                                                                                                                                                                     40 to 49
                                                                                                                                                                                                                                 40 to 49                                                   40 to 49
          40 to 49                                                                                                                                                    Years                                30 to 39
                                                                                                                                                                                                                                  Years                               30 to 39               Years
           Years                                                                                                                                                      26.1%                                 Years                                                                                                                       30 to 39
                                                         30 to 39                                    40 to 49                                       30 to 39                                                                      25.0%                                Years                 21.8%
           23.0%                                                                                                                                                                                            26.6%
                                                          Years                                       Years                                          Years                                                                                                             25.9%                                                             Years
                                                          35.6%                                       27.5%                                          25.1%                                                                                                                                                                               29.6%


                       Probation and Confinement                                                                     Probation or Fine Only                          60 Years or   24 to 59 Months                                  60 Years 60 to 119 Months                                60 Years     120 Months or More
             60 Years or                                                                               60 Years or                                                                                                                                                                                             n=2,521      Younger than
                                n=1,191                                                                                     n=3,613                                    Older           n=8,011                                      or Older      n=4,548            Younger than            or Older
               Older                                 Younger than                                        Older                                        Younger                                          Younger than                                                                                                                 30 Years
                7.3%                                   30 Years                                                                                                         4.0%                                                          3.4%                             30 Years               5.1%
                                                                                                          6.8%                                        than 30                                            30 Years                                                                                                                    7.3%
                                                        28.6%                                                                                                                                                                  50 to 59                                 21.9%
                                                                                                                                                       Years      50 to 59                                30.7%                                                                            50 to 59
         50 to 59                                                                                    50 to 59                                                                                                                   Years
                                                                                                                                                       28.8%       Years                                                                                                                    Years
          Years                                                                                       Years                                                                                                                     9.8%
          15.0%
                                                                                                                                                                   10.6%                                                                                                                    14.7%
                                                                                                      14.0%



                                                                                                                                                    30 to 39      40 to 49                                                     40 to 49                                                                                                  30 to 39
          40 to 49                                                                                                                                   Years         Years                                                        Years                                                       40 to 49                                      Years
                                                        30 to 39                                     40 to 49                                                                                                                                                           30 to 39
           Years                                                                                                                                     27.4%         21.7%                                 30 to 39               23.1%                                                        Years                                        44.0%
                                                         Years                                        Years                                                                                                                                                              Years
           23.7%                                                                                                                                                                                          Years                                                                              28.8%
                                                         25.4%                                        23.1%                                                                                                                                                              41.8%
                                                                                                                                                                                                          33.0%

        SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that
        were missing information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.                                                   SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                                                                                                    information necessary to perform the analysis. Totals may not sum to 100.0% due to rounding.




                                                                                            Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 24 of 54
18                   The Effects of Aging on Recidivism Among Federal Offenders
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 25 of 54
                                             The Effects of Aging on Recidivism Among Federal Offenders   19
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 26 of 54
Part Five




                   Recidivism Rates Among
                  Federal Offenders by Age



        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 27 of 54
                  Part Five:
                  RECIDIVISM RATES AMONG FEDERAL OFFENDERS BY AGE



     Recidivism Rates Among Federal Offenders by Age                                                                                                                                        Figure 12 identifies the median time of rearrest for each age cohort. The
                                                                                                                                                                                         measure of time to first recidivism event can be useful in distinguishing
         The Commission found that younger offenders were more likely to be                                                                                                              offenders who recidivate early from those who eventually recidivate, but are
     rearrested than older offenders, were rearrested faster than older offenders,                                                                                                       apparently crime-free for a longer interval. The Commission found that the
     and committed more serious offenses after they were released than older                                                                                                             median amount of time between an offender’s release and his or her rearrest,
     offenders. As shown in Table 1, the Commission’s research shows that the                                                                                                            which is highlighted on each timeline, reflected the greater tendency for
     younger than 30 age group had the highest rearrest rate (64.8%) and the rate                                                                                                        younger cohorts to recidivate. Offenders who were younger than 30 when
     declined with each age group that follows to a low of 16.4 percent. Younger                                                                                                         they were released had the shortest median time to rearrest (17 months).
     cohorts had more arrest events during the eight-year follow-up period, a median                                                                                                     Conversely, the oldest offenders in the study, those 60 years and older, had the
     of three arrest events for the younger than 30 age group compared to one event                                                                                                      longest time to rearrest (28 months).
     for those age 50 and older.
        The Commission ranked new offenses in order of seriousness for those who                                                                                                         Fig. 12 Time to First Rearrest of Recidivism Study Offenders
     reoffended. The most serious type of offense likely to cause rearrest also varied                                                                                                   100%
     by age, from assault (for all age groups under the age of 50) to public order                                                                                                        90%
     offenses (for age groups 50 and older).
                                                                                                                                                                                          80%
                                                                                                                                                                                                                       Median time to
                                                                                                                                                                                          70%                           recidivism
                                                                                                                                                                                                                                                                                                                     Younger than 30 Years, 64.8%
       Table 1 Overview of Age and Recidivism Study Findings
                                                                                                                                                                                          60%
       Rearrest Recidivism Measure                                                                                                                                                                                                                                                                                       Age 30 to 39 Years, 53.6%
                                                                                                                                                                                          50%
                                                              Younger than 30                                                                                          60 Years or                                                                                                                                       Age 40 to 49 Years, 43.2%
                                                                                           30 to 39 Years           40 to 49 Years           50 to 59 Years
                                                                  Years                                                                                                  Older            40%
                                                                                              n=8,523                  n=5,894                  n=2,969
                                                                 n=6,796                                                                                                n=1,204
                                                                                                                                                                                          30%                                                                                                                            Age 50 to 59 Years, 26.8%

        Percent                                                              64.8%                      53.6%                    43.2%                   26.8%                   16.4%    20%                                                                                                                         Age 60 Years or Older, 16.4%

                                                                                                                                                                                          10%
        Median Time to Recidivism Event                                17 Months                   22 Months               22 Months               25 Months                28 Months
                                                                                                                                                                                           0%
        Median Number of Recidivism Events                                          3                          2                        2                       1                    1          0                  1                  2                  3                 4                  5                  6                  7                   8

                                                                                                                                     Other Public                     Other Public
        Most Serious Post-Release Event
                                                                   Assault                    Assault                   Assault
                                                                                                                                    Order Offense                    Order Offense
                                                                                                                                                                                                                                                                Years After Release
                                                              (26.6%, n=1,170)           (24.1%, n=1,102)           (20.3%, n=517)
                                                                                                                                   (22.5%, n=179)                    (23.7%, n=47)
                                                                                                                                                                                            SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were
                                                                                                                                                                                            missing information necessary to perform the analysis.
             SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
             information necessary to perform the analysis.




                                                                                                                                                                                            Figure 13 presents a more detailed breakdown of rearrest rate by 11 age
                                                                                                                                                                                         groups. The Commission’s study revealed that the rearrest rate was highest
                                                                                                                                                                                         among offenders younger than 21 (67.6%) and those between the ages of 21 to
                                                                                                                                                                                         24 years old (66.6%) and declined in each subsequent age group.




                                                                                                Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 28 of 54
22             The Effects of Aging on Recidivism Among Federal Offenders
Fig. 13 Rearrest Rates for Recidivism Study Offenders by Age at Release                                                                                                                Fig. 15 Reincarceration Rates for Recidivism Study Offenders by Age at Release
                                                                                                                                                                                       100%
 100%
                                                                                                                                                                                       90%
 90%
                                                                                                                                                                                       80%
 80%
            67.6%          66.6%                                                                                                                                                       70%
 70%
                                           63.6%
                                                           56.5%                                                                                                                       60%
 60%
                                                                           50.1%           46.5%                                                                                       50%
 50%
                                                                                                          38.8%                                                                                  35.7%           38.6%
 40%                                                                                                                                                                                   40%                                        33.7%
                                                                                                                          30.1%                                                                                                                   27.7%
 30%                                                                                                                                                                                   30%
                                                                                                                                          22.2%                                                                                                                   24.2%           23.0%
                                                                                                                                                         18.9%                                                                                                                                    17.4%
 20%                                                                                                                                                                      13.4%        20%
                                                                                                                                                                                                                                                                                                                  12.8%
                                                                                                                                                                                                                                                                                                                                   9.0%            8.8%
 10%                                                                                                                                                                                   10%                                                                                                                                                                       4.1%
  0%                                                                                                                                                                                    0%
          Younger         21 to 24        25 to 29        30 to 34       35 to 39        40 to 44        45 to 49        50 to 54        55 to 59       60 to 64        65 Years or             Younger         21 to 24        25 to 29         30 to 34        35 to 39        40 to 44        45 to 49        50 to 54        55 to 59        60 to 64     65 Years or
          than 21          Years           Years           Years          Years           Years           Years           Years           Years          Years             Older                than 21          Years           Years            Years           Years           Years           Years           Years           Years           Years          Older
           Years          n=2,234         n=4,164         n=4,635        n=3,888         n=3,325         n=2,569         n=1,734         n=1,235         n=668            n=536                  Years          n=2,234         n=4,164          n=4,635         n=3,888         n=3,325         n=2,569         n=1,734         n=1,235          n=668         n=536
           n=398                                                                                                                                                                                 n=398

   SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were                              SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
   missing information necessary to perform the analysis.                                                                                                                                 information necessary to perform the analysis.




    The reconviction rate is highest among offenders younger than 21 (48.5%)                                                                                                               The reincarceration rate was highest among those between the ages of 21
and those between the ages of 21 to 24 years old (48.4%) and declined in each                                                                                                          to 24 years old (38.6%) and declined in each subsequent age group.26 Time
subsequent age group. Time to reconviction expanded with age and severity                                                                                                              to reincarceration expands with age and severity of reincarceration offense
of reconviction offense declined with age, in a pattern like that shown with                                                                                                           declined with age, in a pattern like that shown with rearrest in Figure 15.27
rearrest in Figure 14.25                                                                                                                                                               Demographics

                                                                                                                                                                                          White offenders had the lowest rearrest rate overall, starting with 59.1
Fig. 14 Reconviction Rates for Recidivism Study Offenders by Age at Release
 100%
                                                                                                                                                                                       percent for the youngest age group and declining to a low of 15.7 percent in
  90%
                                                                                                                                                                                       the 60 years or older age cohort (Figure 16 on the next page). Black offenders
  80%                                                                                                                                                                                  had the highest rearrest rate overall, starting with 72.7 percent in the youngest
  70%                                                                                                                                                                                  age cohort, which is the highest recidivism rate among all age categories. The
  60%
            48.5%           48.4%
                                                                                                                                                                                       other racial category, which includes American Indians, Alaskan Natives and
  50%
                                            42.7%                                                                                                                                      Asians, had the second highest overall rearrest rate, starting with a 65.1 percent
  40%                                                       36.0%

  30%
                                                                            31.3%           30.3%                                                                                      rearrest rate in the youngest age cohort before declining.
                                                                                                            22.3%
  20%                                                                                                                       15.9%
                                                                                                                                           12.2%           11.4%
  10%                                                                                                                                                                       6.5%

   0%
           Younger         21 to 24        25 to 29        30 to 34        35 to 39        40 to 44        45 to 49       50 to 54        55 to 59        60 to 64       65 Years or
           than 21          Years           Years           Years           Years           Years           Years          Years           Years           Years            Older
            Years          n=2,234         n=4,164         n=4,635         n=3,888         n=3,325         n=2,569        n=1,734         n=1,235          n=668           n=536
            n=398

    SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
    information necessary to perform the analysis.




                                                                                          Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 29 of 54
                                                                                                                                                                                                                             The Effects of Aging on Recidivism Among Federal Offenders                                                                                     23
                      Part Five:
                      RECIDIVISM RATES AMONG FEDERAL OFFENDERS BY AGE



                                                                                                                                                                                  Male offenders had a higher rearrest rate than female offenders in every age
Fig. 16 Rearrest Rate of Recidivism Study Offenders by Race and Age at Release                                                                                                category (Figure 18). In the younger than 30 age cohort, men had a 69.5 percent
                                                                                                                                                                              rearrest rate compared to 47.6 percent for women. The rearrest rate declined
 100%
              Younger than 30 Years           30 to 39 Years       40 to 49 Years        50 to 59 Years        60 Years or Older                                              for both male and female offenders with each subsequent age group.
 90%

 80%
                                                       72.7%                                                                                                                  Fig. 18 Rearrest Rate of Recidivism Study Offenders by Gender and Age at Release
 70%
                                                                                                                                            65.1%
              59.1%                                           59.9%                              61.2%
 60%                                                                                                                                                                           100%
                                                                    52.2%                                                                                                                       Younger than 30 Years          30 to 39 Years       40 to 49 Years        50 to 59 Years       60 Years or Older
                    48.9%                                                                               48.7%                                     50.5%
 50%                                                                                                                                                                            90%
                                                                          36.0%                                                                         42.0%
                          39.4%                                                                               39.2%                                                             80%
 40%
                                                                                                                                                                                                    69.5%
                                                                                                                                                                                70%
 30%
                                 23.7%                                                                               24.4%                                    22.9%                                              56.2%
                                      15.7%                                      19.4%                                    19.1%                                                 60%
 20%
                                                                                                                                                                      10.9%                                                   46.4%                                                     47.6%
                                                                                                                                                                                50%
 10%                                                                                                                                                                                                                                                                                                 40.7%
                                                                                                                                                                                40%
   0%                                                                                                                                                                                                                                     29.2%                                                                   29.1%
                           White                                     Black                                   Hispanic                                    Other                  30%
                                                                                                                                                                                                                                                                                                                               15.3%
  SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing             20%                                                                    17.1%
  information necessary to perform the analysis.                                                                                                                                                                                                                                                                                            12.0%
                                                                                                                                                                                10%

                                                                                                                                                                                 0%
                                                                                                                                                                                                                               Male                                                                               Female
         The overall rearrest rate decreased with every step of educational                                                                                                      SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                                                                                                                 information necessary to perform the analysis.

      achievement (Figure 17). Every education group experienced a decline in
      rearrest rates as age increases. Offenders who did not complete high school
      generally had the highest rearrest rates in all age categories compared to                                                                                              Federal Offense Type and Criminal History
      other educational cohorts, starting with a 74.4 percent rearrest rate in the
      youngest age cohort. College graduates had the lowest rearrest rates among the                                                                                              Offenders whose primary offense involved robbery or firearms had higher
      educational groups.                                                                                                                                                     rearrest rates in all age categories (Figure 19). The Commission found that
                                                                                                                                                                              firearm offenders had a rearrest rate of 79.3 percent in the younger than
Fig. 17 Rearrest Rate of Recidivism Study Offenders by Education and Age at Release                                                                                           30 cohort, the highest rearrest rate among all sentencing types. Robbery
                                                                                                                                                                              offenders, unlike all other offense types, did not experience a continuous
100%
               Younger than 30 Years             30 to 39 Years          40 to 49 Years          50 to 59 Years          60 Years or Older                                    decline in rearrest rates as they aged. Instead, rearrest rates increased from the
 90%
                                                                                                                                                                              younger than 30 age cohort (66.2%) to the 40 to 49 age cohort (71.5%) before
 80%
            74.4%                                                                                                                                                             experiencing a sharp decline.
 70%
                   63.0%                              62.9%
 60%
                                                                                                                                                                                 Rearrest rates decline with age across every base offense level group
                                                             55.0%
 50%
                         51.5%
                                                                                                47.3%                                                                         analyzed (Figure 20). Comparing similar age groups across base offense levels,
                                                                    45.0%                            44.1%
 40%                                                                                                     37.9%                                                                the Commission found that the lowest base offense level group had a modestly
 30%
                               31.0%                                      30.6%                                                            27.0%        21.2%                 higher recidivism rate across most age categories than those with higher base
                                                                                                                    24.9%
 20%                                  17.2%                                     18.8%
                                                                                                                          16.1%
                                                                                                                                                 21.5%
                                                                                                                                                               16.5%          offense levels. For example, in the younger than 30 age cohort, those with base
 10%
                                                                                                                                                                      11.6%   offense levels of 25 or lower had a 66.3 percent rearrest rate, somewhat higher
  0%
                                                                                                                                                                              than those offenders with base offense levels of 32 or higher (60.2%).
                Less than High School                     High School Graduate                           Some College                            College Graduate
  SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
  information necessary to perform the analysis.


                                                                                           Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 30 of 54
 24                   The Effects of Aging on Recidivism Among Federal Offenders
 Fig. 19 Rearrest Rate of Recidivism Study Offenders by Primary Offense Type at                                                                                                   Fig. 21 Rearrest Rate of Recidivism Study Offenders by Weapon Enhancement and Age
 Sentencing and Age at Release                                                                                                                                                    at Release
 100%                                                                                                                                                                              100%
                      Younger than 30 Years             30 to 39 Years           40 to 49 Years           50 to 59 Years           60 Years or Older                                                  Younger than 30 Years         30 to 39 Years       40 to 49 Years       50 to 59 Years       60 Years or Older
  90%                                                                                                                                                                               90%
                                              79.3%                                                                                                                                 80%
  80%
                                                    70.4%                                                           71.0% 71.5%                                                                        70.2%
  70%                                                                                                           66.2%                                                               70%                                                                                                     64.2%
            62.5%                                         62.8%                                                                                     63.0%                                                           57.7%
                                                                                                                                                                                    60%
  60%                                                                                                                                                                                                                                                                                                    53.0%
                                                                                53.6%                                              54.6%                                                                                         48.9%
                  52.0%                                                                                                                                   50.6%                     50%
  50%                                                                                                                                                                                                                                                                                                                 42.6%
                                                               44.8%
                        42.3%                                                          41.8%                                                                                        40%
  40%                                                                                                                                                           37.7%
                                                                                                                                        34.5%                                       30%                                                       27.9%                                                                                26.7%
                                                                   30.2%                   31.8%
  30%                       26.8%                                                                                                                                                                                                                          17.2%                                                                                16.4%
                                                                                                                                                                       23.3%        20%
                                                                                                19.7%
  20%                             17.5%
                                                                                                                                                                          14.5%     10%
                                                                                                      12.5%
  10%                                                                                                                                                                                0%
                                                                                                                                                                                                                        Weapon Enhancement                                                                 No Weapon Enhancement
   0%
                 Drug Trafficking                      Firearms                            Fraud                           Robbery                           All Other                SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                                                                                                                      information necessary to perform the analysis.

     SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
     information necessary to perform the analysis.




       Offenders with a weapon enhancement had a higher rearrest rate than                                                                                                               Rearrest rates increased with the Criminal History Category (CHC) of
    offenders who did not across all age groups (Figure 21). For example, federal                                                                                                     offenders across all age groups (Figure 22). For instance, offenders who were
    offenders who were younger than 30 and had a weapon enhancement had a                                                                                                             younger than 30 and in CHC I had a 53 percent rearrest rate, compared to 79.5
    rearrest rate of 70.2 percent compared to 64.2 percent for those younger than                                                                                                     percent for that same age group in CHC III, and 89.7 percent for that same age
    30 without a weapon enhancement.                                                                                                                                                  group in CHC VI.


Fig. 20 Rearrest Rate of Recidivism Study Offenders by Base Offense Level and Age at Release                                                                                      Fig. 22 Rearrest Rate of Recidivism Study Offenders by Criminal History Category and Age
                                                                                                                                                                                  at Release
100%                                                                                                                                                                               100%
                Younger than 30 Years             30 to 39 Years          40 to 49 Years           50 to 59 Years           60 Years or Older                                                     Younger than 30 Years               30 to 39 Years            40 to 49 Years            50 to 59 Years            60 Years or Older
                                                                                                                                                                                                                                                                                                                     90.6%                       89.7%
 90%                                                                                                                                                                               90%                                                                                                86.3%                                                           84.6%
                                                                                                                                                                                                                                                       79.5%                                                             79.9%                           80.2%
 80%                                                                                                                                                                               80%
                                                                                                                                                                                                                                                                                          73.5% 72.4%
                                                                                                                                                                                                                         70.1%                                                                                                71.3%
               66.3%                                                                                                                                                               70%
 70%                                                                                                                                                                                                                                                         63.7%                                                                                               64.9%
                         55.7%                                          62.3%                                                                                                                                                   55.8%                                                                                             58.7%
                                                                                                                                  60.2%                                            60%
 60%                                                                                                                                                                                        53.0%                                                                 54.0%
                                                                                  52.9%                                                                                                                                                                                                             51.6%
                                                                                                                                                                                   50%                                              47.2%
 50%                                                                                                                                       48.4%                                                                                                                                                       46.3%                          44.4%
                                  44.3%                                                    43.8%                                                                                                                                                                      38.4%                                                                                         37.7%
                                                                                                                                                   37.1%                           40%
 40%                                                                                                                                                                                             35.3%
                                                                                                                                                                                                                                         30.1%
                                          27.6%                                                    25.7%                                                                           30%                25.9%                                                                25.5%
 30%                                                                                                                                                                                                                                         22.6%
                                                                                                                                                            23.4%                                        16.1%
                                                   16.5%                                                   19.3%                                                                   20%
 20%                                                                                                                                                                                                           11.3%
                                                                                                                                                                       13.6%
                                                                                                                                                                                   10%
 10%
                                                                                                                                                                                    0%
  0%                                                                                                                                                                                              Category I                    Category II                  Category III                  Category IV                   Category V                       Category VI
                             BOL 6 to 25                                              BOL 26 to 31                                             BOL 32 to 43
                                                                                                                                                                                     SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
   SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing                 information necessary to perform the analysis.
   information necessary to perform the analysis.


                                                                                          Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 31 of 54
                                                                                                                                                                                                                              The Effects of Aging on Recidivism Among Federal Offenders                                                                                    25
            Part Five:
            RECIDIVISM RATES AMONG FEDERAL OFFENDERS BY AGE



     Federal Sentence Imposed

        Offenders who received a prison only sentence had a higher rearrest rate       Fig. 23 Rearrest Rate of Recidivism Study Offenders by Type of Federal Sentence
     than offenders who received a different form of sentence (Figure 23). For         Imposed and Age at Release
     instance, offenders who received sentences of prison only and who were            100%
                                                                                                       Younger than 30 Years               30 to 39 Years           40 to 49 Years            50 to 59 Years            60 Years or Older
     younger than 30 years of age had a rearrest rate of 68.6 percent compared to      90%

     53.6 percent for offenders in the same age group who received split sentences     80%
                                                                                                                                                                                                                                  68.6%
     and 55.4 percent for offenders in the same age group who were sentenced to        70%
                                                                                                                                                                                                                                         56.9%
     probation and confinement. Offenders younger than 30 who were sentenced to        60%
                                                                                                   51.5%                                     55.4%                                     53.6%
                                                                                                                                                                                                                                                47.9%
     probation or fine only had a rearrest rate of 51.5 percent.                       50%
                                                                                                                                                    44.7%                                      41.8%
                                                                                       40%                35.5%
         Rearrest rates declined with the age at release across all sentence lengths   30%
                                                                                                               27.7%                                      26.6%                                      30.2%                                            29.6%
                                                                                                                                                                                                            22.9%
     (Figure 24). For example, among offenders with imprisonment sentences up to       20%
                                                                                                                      18.9%
                                                                                                                           15.0%
                                                                                                                                                                 19.0%                                                                                         18.0%
                                                                                                                                                                                                                   11.7%
     six months, those younger than age 30 at release had the highest rearrest rate    10%
                                                                                                                                                                        9.2%

     (52.7%) while offenders 60 years and older at release had the lowest rearrest      0%
                                                                                                      Probation or Fine Only                 Probation and Confinement              Prison/Community Split Sentence                         Prison Only
     rate (20.0%). In general, there was some association between the length of
     the original federal sentence and rearrest rates. Offenders with the shortest       SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                         information necessary to perform the analysis.

     imprisonment sentences, of up to six months, had the lowest rearrest rates for
     four of the five age groups studied. Offenders with sentences of 120 months
     or longer had the highest rearrest rates for two of the age groups studied and
     among the highest rearrest rates for the remaining three age groups. Among
     all offenders sentenced to one year of imprisonment or longer, the association
     between sentence length and rearrest rates was less clear. For example, for       Fig. 24 Rearrest Rate of Recidivism Study Offenders by Length of Federal Sentence and
     offenders younger than 30 at release, the rearrest rate was approximately 70      Age at Release
     percent regardless of the length of sentence imposed, ranging from 69.2 percent   100%
                                                                                                      Younger than 30 Years              30 to 39 Years          40 to 49 Years          50 to 59 Years           60 Years or Older
     for offenders sentenced from 12 to 23 months of imprisonment to 68.1 percent       90%

     for offenders sentenced to 120 months or longer, with the highest rearrest rate    80%
                                                                                                                                                                                                                 71.4%
                                                                                                                                                         69.2%                       68.4%                                                   68.1%
     of 71.4 percent for offenders sentenced to 60 to 119 months.                       70%
                                                                                                                             61.4%
                                                                                                                                                                                           56.9%                      58.7%                       58.5%
                                                                                        60%
                                                                                                 52.7%                             54.8%                       52.8%                                                                                   52.8%
                                                                                                                                                                                                                           50.3%
                                                                                        50%                                                                                                    47.6%
                                                                                                                                       45.8%
                                                                                                      42.5%                                                         41.5%
                                                                                        40%
                                                                                                                                           33.3%                                                                               31.8%                          32.4%
                                                                                                           28.9%                                                                                   29.8%
                                                                                        30%
                                                                                                              20.4%                                                     24.3%
                                                                                                                  20.0%                                                                                19.0%                       17.4%                        20.9%
                                                                                        20%                                                    15.0%                        12.3%
                                                                                        10%

                                                                                         0%
                                                                                                     Up to 6 Months             6 to 11 Months             12 to 23 Months             24 to 59 Months             60 to 119 Months          120 Months or More

                                                                                          SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The Commission excluded cases from this analysis that were missing
                                                                                          information necessary to perform the analysis.




                                             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 32 of 54
26          The Effects of Aging on Recidivism Among Federal Offenders
    To compare the federal offenders in this study to offenders released from
state custody, the Commission compared the recidivism rates for prisoners in
the Commission’s recidivism cohort to a cohort of state prisoners released into
the community in 2005 using a five-year follow-up period (Figure 25).28 As
reflected in Figure 25, state prisoners had a higher rearrest rate than federal
prisoners in every age category. Also, the gap in the rearrest rate between state
and federal prisoners increased with each age group. Federal prisoners in the
youngest age group had a 63.2 percent rearrest rate compared to 84.1 percent
for state prisoners. In the oldest age group, the rearrest rate declined to 32.5
percent for federal offenders compared to 69.2 percent for state prisoners.



Fig. 25 Rearrest Rate of Recidivism Study Offenders for Federal and State Prisoners by Age
at Release: Five Year Post Release
100%
                          84.1%
 90%
                                                             80.3%                               77.0%                              78.1%
 80%
              63.2%                                                                                                                                                    69.2%
 70%
 60%                                             57.6%
                                                                                    50.3%                               44.5%
 50%
 40%                                                                                                                                                        32.5%
 30%
 20%
 10%
 0%
           24 Years or Younger                    25 to 29 Years                      30 to 34 Years                     35 to 39 Years                   40 Years Or Older
                                                                 Federal Prisoners         State Prisoners


   SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT and Bureau of Justice Statistics, Recidivism of Prisoners Released in 30
   States (2005). The Commission excluded cases from this analysis that were missing information necessary to perform the analysis.




                                                                                       Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 33 of 54
                                                                                                                                                                               The Effects of Aging on Recidivism Among Federal Offenders   27
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 34 of 54
Part Six




                                                                Conclusion




           Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 35 of 54
             Part Six:
             CONCLUSION



     Conclusion
         This is the fourth report in the Commission’s ongoing recidivism study. This
     report examined the impact of the aging process on federal offender recidivism
     and the impact of other offense and offender factors once age is accounted
     for. The Commission found that older offenders are substantially less likely to
     recidivate following release compared to younger cohorts. Among offenders
     released younger than age 21, 67.6 percent were rearrested compared to 13.4
     percent of those released age 65 or older. The pattern is consistent across age
     groups, as age increases recidivism by any measure declined. Older offenders
     who do recidivate do so later in the follow-up period, do so less frequently, and
     had less serious recidivism offenses on average.
         The Commission found that age is not the only factor associated with
     recidivism. After accounting for age, criminal history as measured by the
     offenders’ Criminal History Category was closely correlated with recidivism
     rates. Demographic factors including gender (males had higher rates), race
     and ethnicity (minorities had higher rates), and education levels (those with
     lower education levels had higher rates) also stood out. Other factors found to
     be associated with recidivism rates after accounting for age include sentence
     length for offenders less than age 50: the shortest lengths are associated with
     less recidivism up to sentences of one year, beyond which recidivism rates level
     off. Some offense characteristics, in particular primary federal offense (firearms
     and robbery, for example) and weapon enhancement, are associated with higher
     recidivism rates.
         The Commission will issue additional reports in this recidivism study series
     in the coming months.




                                              Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 36 of 54
30          The Effects of Aging on Recidivism Among Federal Offenders
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 37 of 54
                                              The Effects of Aging on Recidivism Among Federal Offenders   31
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 38 of 54
Part Seven




                                                               Endnotes




       Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 39 of 54
               Endnotes




     Endnotes                                                                                               10        See U.S. Gov’t Accountability Office, Criminal History Records: Additional Actions
                                                                                                            Could Enhance The Completeness Of Records Used For Employment-Related Background
     1            The United States Sentencing Commission is an independent agency in the judicial          Checks (2015), http://www.gao.gov/products/GAO-15-162.
     branch of government. Established by the Sentencing Reform Act of 1984, its principal purposes
     are (1) to establish sentencing policies and practices for the federal courts, including guidelines    11          Id.
     regarding the appropriate form and severity of punishment for offenders convicted of federal
     crimes; (2) to advise and assist Congress, the federal judiciary, and the executive branch in the      12         See Recidivism Overview Report, supra note 2, at n.56. The relationship between age
     development of effective and efficient crime policy; and (3) to collect, analyze, research, and        and propensity to commit crime was first documented in 1842. See Adolphe Quietelet, A Treatise
     distribute a broad array of information on federal crime and sentencing issues. See 28 U.S.C. §§       On Man And The Development of His Faculties (1842). See also, https://www.nij.gov/topics/
     995(a)(14), (15), (20).                                                                                crime/Pages/delinquency-to-adult-offending.aspx. For more recent discussion of the development
                                                                                                            of offending behavior, age-related risk factors, and the effects of life events on offending see D. P.
     2           See U.S. Sentencing Comm’n, Recidivism Among Federal Offenders: A                          Farrington, Developmental and life-course criminology: Key theoretical and empirical issues. The 2002
     Comprehensive Overview (2016) [hereinafter Recidivism Overview Report], https://www.                   Sutherland Award Address, 41 Criminology 221–55 (2003).
     ussc.gov/sites/default/files/pdf/research-and-publications/research-publications/2016/
     recidivism_overview.pdf; U.S. Sentencing Comm’n, Recidivism Among Federal Drug Trafficking             13          See Recidivism Overview Report, supra note 2, at 23 (Figure 11).
     Offenders (2017), https://www.ussc.gov/sites/default/files/pdf/research-and-publications/
     research-publications/2017/20170221_Recidivism-Drugs.pdf; and U.S. Sentencing Comm’n,                  14         https://www.nij.gov/topics/crime/Pages/delinquency-to-adult-offending.aspx.
     The Past Predicts the Future: Criminal History and Recidivism of Federal Offenders                     However, different types of offenses peak at different ages, and individual propensities differ from
     (2017), https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-               aggregate totals. See David P. Farrington, “Age and Crime,” in 7 Crime and Justice: An Annual
     publications/2017/20170309_Recidivism-CH.pdf.                                                          Review of Research 189 (Michael Tonry & Norval Morris, eds., 1986).

     3          28 U.S.C. § 991(b)(2).                                                                      15          Farrington, supra, at 191.

     4          See U.S. Sentencing Comm’n, Supplementary Report On The Initial Sentencing                  16        Federal Bureau of Investigation, Uniform Crime Report, (2017), https://ucr.fbi.
     Guidelines And Policy Statements 41–44 (1987), https://www.ussc.gov/sites/default/files/pdf/           gov/?came_from=https%3A//ucr.fbi.gov/word.
     guidelines-manual/1987/manual-pdf/1987_Supplementary_Report_Initial_Sentencing_Guidelines.
     pdf [hereinafter “Supplementary Report”].                                                              17         See Federal Bureau of Investigation, Crimes in the United States, https://ucr.fbi.gov/
                                                                                                            crime-in-the-u.s.
     5          See, e.g., U.S. Sentencing Comm’n, Recidivism Among Offenders Receiving
     Retroactive Sentencing Reductions: The 2007 Crack Cocaine Amendment (2014), https://                   18           Prior record data on federal offenders includes arrests reported prior to their 2005
     www.ussc.gov/research/research-publications/recidivism-among-offenders-receiving-retroactive-          release as well as any arrests that may be reported post-2005, in other words the entire criminal
     sentencereductions-2007-crack-cocaine-amendment [hereinafter “Crack Cocaine Recidivism                 record for federal offenders available at the time of Interstate Identification Index (III) data
     Report”] and U.S. Sentencing Comm’n, 2016 Report to the Congress: Career Offender                      collection. In contrast, all the 2016 U.S. arrests are a snapshot of a single year for all offenses in the
     Enhancements (2016), https://www.ussc.gov/research/congressional-reports/2016-report-                  United States cleared through an arrest. The comparison is therefore covering widely different time
     congress-career-offender-enhancements.                                                                 intervals, and is presented merely to suggest that the same general relationship of age and arrests
                                                                                                            holds true for federal offenders as for all offenders arrested in 2016. While 2016 U.S. arrest data
     6          Public order offenses include violations of conditions of federal probation, federal        is available for juvenile arrests, state reporting in III on juveniles is often unavailable, requiring
     supervised release, or state parole and crimes such as obstruction of justice and failure to appear.   this comparison to adults only. To put the comparison on the same scale, five-year intervals were
                                                                                                            chosen, beginning with the interval from age 20 through 24.
     7           See Nat’l Institute of Justice, U.S. Dept. of Justice, Recidivism, https://web.archive.
     org/web/20160120175242/http://www.nij.gov/topics/corrections/recidivism/pages/welcome.                 19          For example, if an offender is reported arrested for two charges at age 20 and one charge
     aspx (Jan. 20, 2016).                                                                                  at age 25, that offender adds two incidents to the age 20-24 group and one to the age 25-29 group.

     8          See Recidivism Overview Report, supra note 2, at 7-8.                                       20          See Federal Bureau of Investigation, Crimes in the United States 2016, at Table 20,
                                                                                                            Arrests by Age 2016, https://ucr.fbi.gov/crime-in-the-u.s/2016/crime-in-the-u.s.-2016/topic-
     9           Revocations were not counted as reconvictions because the offenders were not convicted     pages/tables/table-20.
     of a new offense (even if the basis for revocation was a “new law violation”). Offenders whose terms
     of supervision were revoked and who were sentenced to imprisonment were treated as having been         21         There are many theories attempting to explain this aggregate pattern of rising crime
     reincarcerated.                                                                                        through teenage years followed by steady decline at some point after age 20. The age-crime curve
                                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 40 of 54
34            The Effects of Aging on Recidivism Among Federal Offenders
captures both the prevalence of offending (the number of people committing a criminal act) and          26          One exception occurs with reincarceration. Those under age 21, a small group, have a
the incidence (number of criminal acts those people commit). There is no single well-established        slightly lower rate of reincarceration (35.7%) compared to those between ages 21 and 24 (38.6%).
cause of offending, and contributing factors may be both biological (e.g., brain functioning changes
in transition from child to adult – see G. Sweeten, Alex Piquero, and L. Steinberg, Age and the         27          The shortest time to arrest leading to reincarceration (29 months) is attributed to the
Explanation of Crime, Revisited, 42 J. Youth and Adolescence 921–38 (2013)) and sociological            younger than 30 cohort and increases to 51 months in the last age group. The most serious type
(e.g., informal and formal bonds with others and with the community which may aggravate or deter        of offense most likely to cause reincarceration also shifts with age from assault (for all age groups
offending). Travis Hirschi and Michael Gottfredson argued that the shape of the age-crime curve         under the age of 50) to public order offenses (for age 50 to 59) or drug trafficking (for age 60 or
was similar across time and place, and largely unaffected by life events after childhood. Travis        older).
Hirschi and Michael Gottfredson, Age and the Explanation of Crime, 89 Am. J. Sociology 552-84
(1983). They argue that individual differences are primarily explained by level of self-control and     28          Matthew Durose, Alexia Cooper, and Howard Snyder, Bureau of Justice Statistics,
assert that the decline in adulthood is due primarily to reduced incidents of crime. On the other       U.S. Dep’t of justice, Recidivism of Prisoners Released in 30 States in 2005: Patterns from
hand, Blumstein, Cohen, and Farrington assert that the decline in the aggregate age-crime curve         2005 to 2010 (2014), http://www.bjs.gov/content/pub/pdf/rprts05p0510.pdf.
is explained at least in part by the termination of criminal careers for most offenders by early
adulthood. Alfred Blumstein, Jacqueline Cohen, and David P. Farrington, Criminal Career Research:
Its Value for Criminology, 26 Criminology 1 (1988). That is, the rapid decline in the age-crime curve
reflects desistance from crime. Sampson and Laub document termination in criminal careers for
a sample of offenders and the mechanisms which foster the turn away from crime. See Robert
Sampson and John H. Laub, Crime in the Making: Pathways and Turning Points Through Life
(1993) (expanding on adult choice making, arguing that different choices taken over the adult life
course, especially good marriages and other positive turning points over the life course help explain
desistance from crime.) Therefore, the decline in the aggregate age-crime curve may be attributable
to former offenders who have made the necessary life course changes. See Ray Paternoster and
Shawn Bushway, Desistance and the Feared Self: Toward an Identity Theory of Criminal Desistance,
99 J. Crim. L. & Criminology (2006) (that desistance from crime is a choice, that offenders who
previously identified with a criminal lifestyle and criminal associates may begin to find the costs
of this commitment exceeded by the benefits, providing a motivation to change their lives and
associates and desist from crime).

22          For more information on how an offender’s criminal history is addressed under
the sentencing guidelines, see U.S. Sentencing Comm’n, Guidelines Manual, Ch. 4 (Nov. 2016)
[hereinafter USSG].

23        For more information on the relationship between CHC and recidivism see U.S.
Sentencing Comm’n, The Past Predicts the Future: Criminal History and Recidivism of
Federal Offenders, supra note 2.

24         These four different sentence types correspond to the four “Zones” (A-D) in the
Sentencing Table in the Guidelines Manual. See USSG, supra note 22, at Ch. 5, Pt. A (Sentencing
Table); see also USSG §§5B1.1 & 5C1.1 (setting forth the sentencing options for Zones A-D). Zone
A authorizes probation only; Zone B authorizes probation with a condition of confinement; Zone C
authorizes a “split” sentence of imprisonment and community confinement (e.g., home detention
or a halfway house); and Zone D authorizes sentences of imprisonment only. See USSG §§5B1.1 &
5C1.1.

25         The shortest time to arrest leading to a reconviction (29 months) is attributed to the
younger than 30 cohort and increases to 39 months in the last age group. The most serious type of
offense most likely to cause reconviction also shifts with age from assault (for all age groups under
the age of 50) to public order offenses (for age 50 to 59) or drug trafficking (for age 60 or older).

                                                   Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 41 of 54
                                                                                                                             The Effects of Aging on Recidivism Among Federal Offenders                         35
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 42 of 54
Part Eight




                                                                Appendix




        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 43 of 54
       Part Eight:
       APPENDIX


                                       Recidivism Rates of Recidivism Study Offenders by Race and Age at Release


                                                                                                                                     Rearrest               Reconviction                 Reincarceration
                                                                                                                N                          %                          %                               %
                                      Total                                                                25,386                     49.3%                      31.7%                           24.7%
                                      Under 30 Years of Age
                                      Race
                                                   White                                                     2,265                      59.1%                          40.8%                            31.1%
                                                   Black                                                     2,410                      72.7%                          51.4%                            40.7%
                                                   Hispanic                                                  1,714                      61.2%                          40.2%                            31.9%
                                                   Other                                                       401                      65.1%                          49.1%                            44.1%
                                      30-39 Years of Age                                                                                    %                              %                                %
                                      Race
                                                   White                                                     3,090                      48.9%                          31.9%                            24.2%
                                                   Black                                                     3,604                      59.9%                          36.4%                            28.0%
                                                   Hispanic                                                  1,485                      48.7%                          31.3%                            24.7%
                                                   Other                                                       337                      50.5%                          35.0%                            27.9%
                                      40-49 Years of Age                                                                                    %                              %                                %
                                      Race
                                                   White                                                     3,076                      39.4%                          25.7%                            19.1%
                                                   Black                                                     1,688                      52.2%                          30.9%                            24.2%
                                                   Hispanic                                                    843                      39.2%                          22.5%                            17.4%
                                                   Other                                                       281                      42.0%                          27.1%                            23.8%
                                      50-59 Years of Age                                                                                    %                              %                                %
                                      Race
                                                   White                                                     1,797                      23.7%                          12.7%                             9.9%
                                                   Black                                                       719                      36.0%                          18.8%                            14.7%
                                                   Hispanic                                                    340                      24.4%                          14.4%                            11.5%
                                                   Other                                                       109                      22.9%                          11.9%                             9.2%
                                      60 Years of Age or Older                                                                              %                              %                                %
                                      Race
                                                   White                                                        846                     15.7%                           7.8%                             5.2%
                                                   Black                                                        186                     19.4%                          15.6%                            12.9%
                                                   Hispanic                                                     126                     19.1%                          10.3%                             7.9%
                                                   Other                                                         46                     10.9%                           6.5%                             6.5%

                                         While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
                                         Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
                                         of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
                                         Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

                                         SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
                                         offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
                                         because of missing information.


                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 44 of 54
A-38   The Effects of Aging on Recidivism Among Federal Offenders
Recidivism Rates of Recidivism Study Offenders by Education and Age at Release

                                                                                                   Rearrest                Reconviction                 Reincarceration
                                                                               N                         %                           %                               %
    Total                                                                 25,386                    49.3%                       31.7%                           24.7%
    Under 30 Years of Age
    Education
                 Less Than High School                                      3,067                     74.4%                          53.2%                             43.6%
                 High School Graduate                                       2,412                     62.9%                          43.0%                             33.1%
                 Some College                                               1,170                     47.3%                          29.7%                             21.1%
                 College Graduate                                             111                     27.0%                          16.2%                             11.7%
    30-39 Years of Age                                                                                    %                              %                                 %
    Education
                 Less Than High School                                      2,849                     63.0%                          40.9%                             32.8%
                 High School Graduate                                       3,269                     55.0%                          35.0%                             27.0%
                 Some College                                               1,923                     44.1%                          26.1%                             18.5%
                 College Graduate                                             433                     21.5%                          11.8%                              7.4%
    40-49 Years of Age                                                                                    %                              %                                 %
    Education
                 Less Than High School                                      1,679                     51.5%                          30.9%                             24.0%
                 High School Graduate                                       2,319                     45.0%                          28.6%                             22.2%
                 Some College                                               1,313                     37.9%                          24.1%                             18.1%
                 College Graduate                                             543                     21.2%                          12.5%                              8.7%
    50-59 Years of Age                                                                                    %                              %                                 %
    Education
                 Less Than High School                                         698                    31.0%                          18.2%                             14.6%
                 High School Graduate                                          953                    30.6%                          16.2%                             12.5%
                 Some College                                                  744                    24.9%                          12.2%                              9.8%
                 College Graduate                                              551                    16.5%                           8.2%                              5.8%
    60 Years of Age or Older                                                                              %                              %                                 %
    Education
                 Less Than High School                                         348                    17.2%                           9.5%                               7.2%
                 High School Graduate                                          356                    18.8%                          11.2%                               7.9%
                 Some College                                                  249                    16.1%                           8.4%                               6.0%
                 College Graduate                                              241                    11.6%                           5.8%                               4.2%


      While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
      Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
      of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
      Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

      SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
      offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
      because of missing information.



   Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 45 of 54
                                                                                                                           The Effects of Aging on Recidivism Among Federal Offenders   A-39
       Part Eight:
       APPENDIX


                                     Recidivism Rates of Recidivism Study Offenders by Gender and Age at Release

                                                                                                                                    Rearrest               Reconviction                  Reincarceration
                                                                                                                N                         %                          %                                %
                                    Total                                                                  25,386                    49.3%                      31.7%                            24.7%
                                    Under 30 Years of Age
                                    Gender
                                                 Male                                                        5,342                     69.5%                          48.6%                             39.2%
                                                 Female                                                      1,451                     47.6%                          31.2%                             21.7%
                                    30-39 Years of Age                                                                                     %                              %                                 %
                                    Gender
                                                 Male                                                        7,092                     56.2%                          35.9%                             28.1%
                                                 Female                                                      1,427                     40.7%                          23.7%                             15.8%
                                    40-49 Years of Age                                                                                     %                              %                                 %
                                    Gender
                                                 Male                                                        4,783                     46.4%                          29.1%                             22.8%
                                                 Female                                                      1,110                     29.1%                          16.8%                             10.7%
                                    50-59 Years of Age                                                                                     %                              %                                 %
                                    Gender
                                                 Male                                                        2,453                     29.2%                          15.5%                             12.2%
                                                 Female                                                        516                     15.3%                           8.7%                              6.4%
                                    60 Years of Age or Older                                                                               %                              %                                 %
                                    Gender
                                                 Male                                                        1,053                     17.1%                            9.4%                              6.8%
                                                 Female                                                        150                     12.0%                            8.0%                              6.0%


                                        While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
                                        Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
                                        of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
                                        Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

                                        SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
                                        offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
                                        because of missing information.




                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 46 of 54
A-40   The Effects of Aging on Recidivism Among Federal Offenders
Recidivism Rates of Recidivism Study Offenders by Primary Offense Type and
                               Age at Release
                                                                                                   Rearrest                Reconviction                 Reincarceration
                                                                               N                         %                           %                               %
   Total                                                                  25,386                    49.3%                       31.7%                           24.7%
   Under 30 Years of Age
   Primary Offense Type
                Drug Trafficking                                            3,110                     62.5%                          41.2%                             31.7%
                Firearms                                                    1,077                     79.3%                          60.2%                             49.4%
                Fraud                                                         511                     53.6%                          36.4%                             25.1%
                Robbery                                                       287                     66.2%                          43.2%                             37.6%
                All Other                                                   1,811                     63.0%                          44.8%                             36.2%
   30-39 Years of Age                                                                                     %                              %                                 %
   Primary Offense Type
                Drug Trafficking                                            4,078                     52.0%                          31.5%                             23.7%
                Firearms                                                    1,074                     70.4%                          47.8%                             39.8%
                Fraud                                                       1,037                     41.8%                          26.1%                             18.4%
                Robbery                                                       376                     71.0%                          47.9%                             42.8%
                All Other                                                   1,958                     50.6%                          32.5%                             24.4%
   40-49 Years of Age                                                                                     %                              %                                 %
   Primary Offense Type
                Drug Trafficking                                            2,151                     42.3%                          24.5%                             18.4%
                Firearms                                                      721                     62.8%                          40.4%                             31.8%
                Fraud                                                         977                     31.8%                          19.2%                             13.4%
                Robbery                                                       298                     71.5%                          51.7%                             46.6%
                All Other                                                   1,745                     37.7%                          24.0%                             18.2%
   50-59 Years of Age                                                                                     %                              %                                 %
   Primary Offense Type
                Drug Trafficking                                              952                     26.8%                          14.1%                             11.5%
                Firearms                                                      270                     44.8%                          24.4%                             19.3%
                Fraud                                                         618                     19.7%                          10.4%                              7.8%
                Robbery                                                       108                     54.6%                          35.2%                             27.8%
                All Other                                                   1,021                     23.3%                          12.1%                              9.2%
   60 Years of Age or Older                                                                               %                              %                                 %
   Primary Offense Type
                Drug Trafficking                                               286                    17.5%                          10.1%                              6.6%
                Firearms                                                        96                    30.2%                          20.8%                             15.6%
                Fraud                                                          297                    12.5%                           6.7%                              4.7%
                Robbery                                                         29                    34.5%                          13.8%                             13.8%
                All Other                                                      496                    14.5%                           7.7%                              5.9%

     While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
     Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
     of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
     Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

     SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
     offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
     because of missing information.
 Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 47 of 54
                                                                                                                                 The Effects of Aging on Recidivism Among Federal Offenders   A-41
       Part Eight:
       APPENDIX


                                       Recidivism Rates of Recidivism Study Offenders by Base Offense Level and
                                                                    Age at Release
                                                                                                                                   Rearrest                Reconviction                 Reincarceration
                                                                                                               N                         %                           %                               %
                                    Total                                                                 25,386                    49.3%                       31.7%                           24.7%
                                    Under 30 Years of Age
                                    Base Offense Level
                                                 6 to 25                                                    4,682                     66.3%                           46.9%                            37.4%
                                                 26 to 31                                                   1,393                     62.3%                           41.4%                            31.2%
                                                 32 to 43                                                     716                     60.2%                           38.7%                            31.2%
                                    30-39 Years of Age                                                                                    %                               %                                %
                                    Base Offense Level
                                                 6 to 25                                                    5,046                     55.7%                           36.6%                            28.8%
                                                 26 to 31                                                   1,673                     52.9%                           32.1%                            23.6%
                                                 32 to 43                                                   1,801                     48.4%                           27.8%                            20.8%
                                    40-49 Years of Age                                                                                    %                               %                                %
                                    Base Offense Level
                                                 6 to 25                                                    4,073                     44.3%                           28.0%                            21.8%
                                                 26 to 31                                                     901                     43.8%                           26.1%                            19.8%
                                                 32 to 43                                                     913                     37.1%                           21.9%                            15.8%
                                    50-59 Years of Age                                                                                    %                               %                                %
                                    Base Offense Level
                                                 6 to 25                                                    2,192                     27.6%                           15.1%                            11.6%
                                                 26 to 31                                                     377                     25.7%                           11.7%                            10.1%
                                                 32 to 43                                                     397                     23.4%                           12.9%                            10.3%
                                    60 Years of Age or Older                                                                              %                               %                                %
                                    Base Offense Level
                                                 6 to 25                                                       944                    16.5%                            9.2%                              6.9%
                                                 26 to 31                                                      119                    19.3%                           10.9%                              7.6%
                                                 32 to 43                                                      140                    13.6%                            7.9%                              5.0%


                                        While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
                                        Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
                                        of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
                                        Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

                                        SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
                                        offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
                                        because of missing information.




                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 48 of 54
A-42   The Effects of Aging on Recidivism Among Federal Offenders
Recidivism Rates of Recidivism Study Offenders by Weapon Enhancement and Age at Release

                                                                                                Rearrest                Reconviction                 Reincarceration
                                                                            N                         %                           %                               %
 Total                                                                 25,386                    49.3%                       31.7%                           24.7%
 Under 30 Years of Age
 Weapon Enhancement
           No Weapon Enhancement                                         6,136                     64.2%                           44.4%                            34.9%
           Weapon Enhancement                                              660                     70.2%                           48.9%                            40.6%
 30-39 Years of Age                                                                                    %                               %                                %
 Weapon Enhancement
           No Weapon Enhancement                                         7,509                     53.0%                           33.7%                            25.8%
           Weapon Enhancement                                            1,014                     57.7%                           35.2%                            27.8%
 40-49 Years of Age                                                                                    %                               %                                %
 Weapon Enhancement
           No Weapon Enhancement                                         5,356                     42.6%                           26.4%                            20.2%
           Weapon Enhancement                                              538                     48.9%                           30.5%                            24.7%
 50-59 Years of Age                                                                                    %                               %                                %
 Weapon Enhancement
           No Weapon Enhancement                                         2,747                     26.7%                           14.2%                            11.1%
           Weapon Enhancement                                              222                     27.9%                           15.8%                            12.2%
 60 Years of Age or Older                                                                              %                               %                                %
 Weapon Enhancement
           No Weapon Enhancement                                         1,140                     16.4%                             9.2%                             6.6%
           Weapon Enhancement                                               64                     17.2%                             9.4%                             9.4%




     While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
     Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
     of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
     Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

     SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
     offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
     because of missing information.




             Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 49 of 54
                                                                                                                      The Effects of Aging on Recidivism Among Federal Offenders   A-43
       Part Eight:
       APPENDIX


                                     Recidivism Rates of Recidivism Study Offenders by Criminal History Category
                                                                  and Age at Release
                                                                                                                                              Rearrest                Reconviction                 Reincarceration
                                                                                                                          N                         %                           %                               %
                                              Total                                                                  25,386                    49.3%                       31.7%                           24.7%
                                              Under 30 Years of Age
                                              Criminal History Category
                                                           CHC I                                                       3,771                     53.0%                           34.1%                            25.4%
                                                           CHC II                                                        895                     70.1%                           47.2%                            35.5%
                                                           CHC III                                                     1,095                     79.5%                           56.7%                            46.5%
                                                           CHC IV                                                        568                     86.3%                           66.9%                            57.4%
                                                           CHC V                                                         244                     90.6%                           73.8%                            66.0%
                                                           CHC VI                                                        214                     89.7%                           72.9%                            61.7%
                                              30-39 Years of Age                                                                                     %                               %                                %
                                              Criminal History Category
                                                           CHC I                                                       3,890                     35.3%                           19.6%                            12.9%
                                                           CHC II                                                      1,091                     55.8%                           32.9%                            23.1%
                                                           CHC III                                                     1,371                     63.7%                           40.2%                            31.5%
                                                           CHC IV                                                        835                     73.5%                           47.1%                            39.8%
                                                           CHC V                                                         483                     79.9%                           59.2%                            51.6%
                                                           CHC VI                                                        803                     84.6%                           63.5%                            54.8%
                                              40-49 Years of Age                                                                                     %                               %                                %
                                              Criminal History Category
                                                           CHC I                                                       3,135                     25.9%                           14.0%                             9.4%
                                                           CHC II                                                        674                     47.2%                           26.9%                            18.7%
                                                           CHC III                                                       746                     54.0%                           33.0%                            24.5%
                                                           CHC IV                                                        398                     72.4%                           49.0%                            40.0%
                                                           CHC V                                                         282                     71.3%                           46.5%                            39.4%
                                                           CHC VI                                                        626                     80.2%                           59.1%                            51.9%
                                              50-59 Years of Age                                                                                     %                               %                                %
                                              Criminal History Category
                                                           CHC I                                                       1,877                     16.1%                            8.1%                             5.5%
                                                           CHC II                                                        316                     30.1%                           13.6%                             9.5%
                                                           CHC III                                                       292                     38.4%                           19.9%                            17.8%
                                                           CHC IV                                                        153                     51.6%                           32.7%                            28.1%
                                                           CHC V                                                          92                     58.7%                           32.6%                            29.4%
                                                           CHC VI                                                        225                     64.9%                           40.0%                            33.8%
                                              60 Years of Age or Older                                                                               %                               %                                %
                                              Criminal History Category
                                                           CHC I                                                          876                    11.3%                            5.9%                             4.1%
                                                           CHC II                                                         106                    22.6%                           12.3%                             9.4%
                                                           CHC III                                                        106                    25.5%                           16.0%                            11.3%
                                                           CHC IV                                                          41                    46.3%                           29.3%                            19.5%
                                                           CHC V                                                           18                    44.4%                           27.8%                            22.2%
                                                           CHC VI                                                          53                    37.7%                           22.6%                            20.8%
                                                While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
                                                Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
                                                of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
                                                Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

                                                SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
                                                offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
                                                because of missing information.

                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 50 of 54
A-44   The Effects of Aging on Recidivism Among Federal Offenders
Recidivism Rates of Recidivism Study Offenders by Sentence Type and Age at Release

                                                                                                   Rearrest               Reconviction                 Reincarceration
                                                                                    N                    %                          %                               %
    Total                                                                      25,386               49.3%                      31.7%                           24.7%
    Under 30 Years of Age
    Sentence Type
                 Probation or Fine Only                                          1,039                51.5%                          34.2%                            21.6%
                 Probation and Confinement                                         341                55.4%                          34.6%                            23.8%
                 Prison/Confinement Split                                          261                53.6%                          34.1%                            25.3%
                 Prison Only                                                     5,144                68.6%                          48.3%                            39.5%
    30-39 Years of Age                                                                                    %                              %                                %
    Sentence Type
                 Probation or Fine Only                                            989                35.5%                          20.7%                            11.8%
                 Probation and Confinement                                         302                44.7%                          27.8%                            14.9%
                 Prison/Confinement Split                                          244                41.8%                          25.4%                            16.0%
                 Prison Only                                                     6,971                56.9%                          36.3%                            28.9%
    40-49 Years of Age                                                                                    %                              %                                %
    Sentence Type
                 Probation or Fine Only                                            835                27.7%                          16.9%                             9.1%
                 Probation and Confinement                                         282                26.6%                          14.9%                            11.0%
                 Prison/Confinement Split                                          268                30.2%                          17.2%                            11.2%
                 Prison Only                                                     4,501                47.9%                          29.9%                            23.8%
    50-59 Years of Age                                                                                    %                              %                                %
    Sentence Type
                 Probation or Fine Only                                            504                18.9%                           8.9%                             5.2%
                 Probation and Confinement                                         179                19.0%                          10.6%                             7.3%
                 Prison/Confinement Split                                          140                22.9%                          13.6%                             7.1%
                 Prison Only                                                     2,145                29.6%                          15.9%                            13.2%
    60 Years of Age or Older                                                                              %                              %                                %
    Sentence Type
                 Probation or Fine Only                                             246               15.0%                          10.2%                              6.5%
                 Probation and Confinement                                           87                9.2%                           4.6%                              3.5%
                 Prison/Confinement Split                                            60               11.7%                           5.0%                              3.3%
                 Prison Only                                                        811               18.0%                           9.7%                              7.4%


       While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
       Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
       of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
       Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

       SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
       offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
       because of missing information.

     Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 51 of 54
                                                                                                                              The Effects of Aging on Recidivism Among Federal Offenders   A-45
       Part Eight:
       APPENDIX


                                     Recidivism Rates of Recidivism Study Offenders by Length of Federal Sentence
                                                                  and Age at Release
                                                                                                                                              Rearrest                Reconviction                 Reincarceration
                                                                                                                          N                         %                           %                               %
                                              Total                                                                  25,386                    49.3%                       31.7%                           24.7%
                                              Under 30 Years of Age
                                              Length of Federal Sentence
                                                           Up to 6 Months                                                294                     52.7%                           34.7%                            26.2%
                                                           6 to 11 Months                                                264                     61.4%                           43.9%                            31.8%
                                                           12 to 23 Months                                             1,204                     69.2%                           48.6%                            40.3%
                                                           24 to 59 Months                                             2,457                     68.4%                           48.8%                            40.3%
                                                           60 to 119 Months                                              995                     71.4%                           47.8%                            38.9%
                                                           120 Months or More                                            185                     68.1%                           48.1%                            39.5%
                                              30-39 Years of Age                                                                                     %                               %                                %
                                              Length of Federal Sentence
                                                           Up to 6 Months                                                278                     42.5%                           25.5%                            16.2%
                                                           6 to 11 Months                                                197                     54.8%                           32.0%                            26.9%
                                                           12 to 23 Months                                             1,077                     52.8%                           34.6%                            27.1%
                                                           24 to 59 Months                                             2,647                     56.9%                           36.8%                            29.5%
                                                           60 to 119 Months                                            1,903                     58.7%                           37.2%                            29.4%
                                                           120 Months or More                                          1,110                     58.5%                           36.0%                            29.4%
                                              40-49 Years of Age                                                                                     %                               %                                %
                                              Length of Federal Sentence
                                                           Up to 6 Months                                                273                     28.9%                           17.6%                            11.4%
                                                           6 to 11 Months                                                190                     45.8%                           23.7%                            16.8%
                                                           12 to 23 Months                                               793                     41.5%                           25.5%                            21.8%
                                                           24 to 59 Months                                             1,734                     47.6%                           29.1%                            22.4%
                                                           60 to 119 Months                                            1,049                     50.3%                           32.6%                            25.6%
                                                           120 Months or More                                            727                     52.8%                           34.4%                            28.6%
                                              50-59 Years of Age                                                                                     %                               %                                %
                                              Length of Federal Sentence
                                                           Up to 6 Months                                                 147                    20.4%                           12.2%                             7.5%
                                                           6 to 11 Months                                                  69                    33.3%                           17.4%                            11.6%
                                                           12 to 23 Months                                                399                    24.3%                           16.0%                            13.0%
                                                           24 to 59 Months                                                852                    29.8%                           15.1%                            12.6%
                                                           60 to 119 Months                                               446                    31.8%                           16.1%                            13.0%
                                                           120 Months or More                                             370                    32.4%                           17.8%                            15.7%
                                              60 Years of Age or Older                                                                               %                               %                                %
                                              Length of Federal Sentence
                                                           Up to 6 Months                                                  55                    20.0%                           12.7%                              9.1%
                                                           6 to 11 Months                                                  40                    15.0%                           15.0%                              7.5%
                                                           12 to 23 Months                                                171                    12.3%                            6.4%                              5.3%
                                                           24 to 59 Months                                                321                    19.0%                            9.4%                              7.5%
                                                           60 to 119 Months                                               155                    17.4%                            9.0%                              6.5%
                                                           120 Months or More                                             129                    20.9%                           10.9%                              8.5%
                                                While states have improved the completeness of criminal history records, a recent federal study found significant gaps in reporting of dispositions following an arrest.
                                                Such gaps occur in the criminal records used in this report, and lead to an undercounting of reconvictions, since missing dispositions are treated herein as the absence
                                                of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
                                                Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

                                                SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT. The numbers in the table represent the total number of
                                                offenders in each grouping, not the total number of offenders that recidivated. The total number of offenders in each grouping may not add to the total study group
                                                because of missing information.
                                        Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 52 of 54
A-46   The Effects of Aging on Recidivism Among Federal Offenders
Recidivism Rates for Federal and State Prisoners by Age at Release: Five Year Post-Release


                                                                                                  Rearrest               Reconviction                 Reincarceration
                                                                                N                       %                          %                               %
   24 Years or Younger
   Federal or State Prisoners
                 Federal Prisoners                                        1,916                      63.2%                          42.9%                            35.1%
                 State Prisoners                                           N/A                       84.1%                            N/A                              N/A
   25 to 29 Years                                                                                        %                              %                                %
   Federal or State Prisoners
                 Federal Prisoners                                        3,489                      57.6%                          34.9%                            28.2%
                 State Prisoners                                           N/A                       80.3%                            N/A                              N/A
   30 to 34 Years                                                                                        %                              %                                %
   Federal or State Prisoners
                 Federal Prisoners                                        3,966                      50.3%                          28.5%                            22.2%
                 State Prisoners                                           N/A                       77.0%                            N/A                              N/A
   35 to 39 Years                                                                                        %                              %                                %
   Federal or State Prisoners
                 Federal Prisoners                                        3,249                      44.5%                          24.4%                            19.7%
                 State Prisoners                                           N/A                       78.1%                            N/A                              N/A
   40 Years or Older                                                                                     %                              %                                %
   Federal or State Prisoners
                 Federal Prisoners                                        7,925                      32.5%                          17.3%                            13.6%
                 State Prisoners                                           N/A                       69.2%                            N/A                              N/A


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       of reconviction and reincarceration. See U.S. Government Accountability Office, Criminal History Records: Additional Actions Could Enhance the Completeness of
       Records Used for Employment-Related Background Checks (February 2015), http://www.gao.gov/products/GAO-15-162.

       SOURCE: U.S. Sentencing Commission’s 2005 Recidivism Release Cohort Datafile, RECID05_OFFUPDT and Bureau of Justice Statistics, Recidivism of Prisoners
       Released in 30 States (2005).




         Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 53 of 54
                                                                                                                        The Effects of Aging on Recidivism Among Federal Offenders   A-47
Case 5:17-cr-00330-D Document 40-1 Filed 10/11/18 Page 54 of 54
